
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                                     
                                 ____________________

        No. 95-1441

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                        MIGUEL DIMARZO, a/k/a MICHAEL DIMARZO,

                                Defendant, Appellant.

                                                     
                                 ____________________

        No. 95-1442

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                MARIO J. ALZATE-YEPEZ,

                                Defendant, Appellant.

                                                     
                                 ____________________


                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                    [Hon. Michael A. Ponsor, U.S. District Judge]
                                             ___________________

                                                     
                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                            Cyr and Lynch, Circuit Judges.
                                           ______________

                                                     
                                 ____________________























             David J. Wenc for appellant DiMarzo.
             _____________
             Alan Black, with whom Morton &amp; Black was on brief for appellant
             __________            ______________
        Alzate-Yepez.
             Andrew Levchuk, Assistant United States Attorney, with whom
             ______________
        Donald K. Stern, United States Attorney, was on brief for appellee.
        _______________

                                                     
                                 ____________________

                                    April 10, 1996
                                                     
                                 ____________________







































                                          2














                    CYR,  Circuit  Judge.   Appellants  Mario Alzate-Yepez
                    CYR,  Circuit  Judge.
                          ______________

          ("Mario" or "Alzate") and Miguel  DiMarzo were jointly tried and

          convicted of possessing cocaine,  with intent to distribute, see
                                                                       ___

          21 U.S.C.    841(a)(1) (1994),  and conspiracy, see  id.    846.
                                                          ___  ___

          Appellants  assign  error  by  the district  court  in  allowing

          certain trial testimony and denying their respective motions for

          judgments of  acquittal.   Appellant Alzate additionally  claims

          that the district court erred in denying his pretrial motion for

          severance and imposed too  harsh a sentence.  Finding  no error,

          we affirm. 

                                          I
                                          I

                                     BACKGROUND
                                     BACKGROUND
                                     __________

                    In  April  1994, the  Western  Massachusetts Narcotics

          Task Force  brokered  a cocaine  deal among  appellants and  one

          Robert Schultz,  an undercover  Task Force  agent.   During  the

          first  phase, Alonzo  Alzate-Yepez ("Alonzo"),  Mario's brother,

          agreed  that  he would  arrange  to  deliver  five kilograms  of

          cocaine to Schultz at the Westfield Motor Inn on April 12, 1994,

          in return  for $100,000.  If  all went well on  April 12, Alonzo

          promised to deliver to  Schultz another five kilograms a  day or

          two later, and ten kilograms per week thereafter.  

                    On  April 12,  at approximately  5:00 a.m.,  appellant

          Mario and brother Alonzo set out in Mario's car on the  100-mile

          trip  from Boston to Westfield.   Upon arrival  at the Westfield

          Motor  Inn, Mario remained in the car while Alonzo registered at

          the Inn.  After waiting about fifteen minutes, Mario entered the


                                          3














          Inn and  requested a separate room overlooking  the parking lot.

          Meanwhile, a Task Force surveillance team had taken up positions

          around  the Inn.   Shortly  thereafter, the  agents saw  a male,

          later  identified  as Mario,  lingering  around  the office  and

          parking lot of the Inn while carefully observing cars and people

          in the area.   

                    Agent Schultz  and another undercover agent arrived at

          the  restaurant parking  lot next  to the  Inn around  9:30 a.m.

          Alonzo approached them, introductions ensued, and the three went

          into the restaurant for coffee.  Alonzo told Schultz that he was

          expecting  a courier  to arrive  with the  cocaine at  any time.

          Soon  Schultz left the restaurant to "beep" the courier from his

          car phone, while Alonzo returned to his room at the Inn to await

          a  call  from the  courier.   While  Agent Schultz  was standing

          beside  his car, he noticed that Mario was observing him and the

          surrounding area.

                    A short time  later, Schultz went to Alonzo's  room on

          the ground floor,  where Alonzo  told him that  the courier  had

          gotten  lost,  but now  had correct  directions  to the  Inn and

          should  arrive within ten minutes.  Alonzo added that "they" had

          eight cars,  with secret compartments for  carrying cocaine, but

          he was not  sure which was being  used for this deal.   At about

          10:45 a.m.,  a  white Oldsmobile  entered  the parking  lot  and

          stopped just outside Alonzo's ground-floor room.  Before leaving

          to meet the driver    as it turned out, appellant Miguel DiMarzo

             Alonzo advised Schultz to stay put. 


                                          4














                    After  greeting  one   another,  Alonzo  and   DiMarzo

          conversed as DiMarzo scanned  the area and the two walked to the

          restaurant.  Shortly after entering the restaurant, Alonzo left,

          and invited  Schultz to join  him in the  parking lot, where  he

          unlocked the driver's door  of the Oldsmobile to let  Schultz in

          the passenger  side.  After fidgeting with the defroster, Alonzo

          reached under the  dashboard and popped  open two interior  side

          panels in the rear  seat area which contained several  bricks of

          cocaine  wrapped in duct tape and plastic.  After inspecting the

          brick-like  packages,  Agent Schultz  signalled  the  Task Force

          surveillance team, and Alonzo,  Mario and DiMarzo were arrested.

          The  cocaine recovered  from the  concealed compartments  in the

          Oldsmobile weighed  4.94  kilograms,  almost  exactly  the  five

          kilograms Alonzo had agreed to supply. 

                    On  May 17,  1994, a  federal grand jury  indicted the

          Alzate brothers and  DiMarzo under  21 U.S.C.     841(a)(1)  and

          846.  Alonzo Alzate  pled guilty to both counts,  whereas appel-

          lants Mario  Alzate and  Miguel DiMarzo  were jointly  tried and

          convicted on both  counts.   In due course,  the district  court

          imposed sentences  on appellants  and final judgment  entered on

          March 31,  1995.  DiMarzo filed  a notice of appeal  on April 3.

          Appellant Mario Alzate did not do so until April 13.1
                              
          ____________________

               1The government  contends that  we lack jurisdiction  of the
          latter  appeal  because Mario  did not  file  a notice  of appeal
          within the  ten-day period.   See  Fed. R.  App. P.  4(b), 26(a);
                                        ___
          United  States v.  Morillo,  8 F.3d  864,  867 (1st  Cir.  1993).
          ______________     _______
          However  that may  be, this is  an appropriate  case in  which to
          resolve  the appeal on the merits.  See United States v. Connell,
                                              ___ _____________    _______
          6  F.3d 27,  29  n.3 (1st  Cir.  1993) (foregoing  resolution  of

                                          5














          















































                              
          ____________________

          jurisdictional question where same party inevitably will  prevail
          on merits). 

                                          6














                                         II 
                                         II

                                     DISCUSSION
                                     DISCUSSION
                                     __________

          A.  The Severance Motion
          A.  The Severance Motion
              ____________________

                    Appellant Mario  Alzate filed a pretrial  motion for a

          separate trial  pursuant to Fed. R.  Crim. P. 14, on  the ground

          that  the "spillover"  effect  of the  evidence against  DiMarzo

          would prejudice  Mario unfairly.  Appellants  contended at trial

          that they had not known that  Alonzo Alzate planned to conduct a

          drug deal at  the Inn.   Mario argues on  appeal that  DiMarzo's

          "mere presence"  defense was  so patently "ridiculous"  that the

          jury likely  concluded     without  separately  considering  the

          evidence against Mario    that both were guilty.  His contention

          fails.

                    Severance  rulings  under  Fed.  R. Crim.  P.  14  are

          reviewed only for manifest  abuse of discretion.  United  States
                                                            ______________

          v. Flores-Rivera, 56 F.3d 319, 325 (1st Cir. 1995).   
             _____________

                    As a  rule, persons . .  . indicted together
                    should be  tried together[, which] helps . .
                    .  prevent inconsistent verdicts  and .  . .
                    conserve resources  (judicial and prosecuto-
                    rial).   Thus, . . . a defendant who seeks a
                    separate trial can ordinarily  succeed . . .
                    only by making  a strong showing  of evident
                    prejudice. . .  .   Supreme Court  precedent
                    instructs that a district court should grant
                    a severance under Rule 14 only if there is a
                    serious risk  that a joint trial  would com-
                    promise a specific trial right of one of the
                    defendants, or prevent the jury  from making
                    a  reliable  judgment  about  guilt  or  in-
                    nocence.  
             
          Id.  (internal citations  and  quotations omitted).   Rarely  is
          ___

          severance required  in  a conspiracy  case.   United  States  v.
                                                        ______________


                                          7














          Brandon, 17 F.3d  409, 440 (1st Cir.), cert.  denied, 115 S. Ct.
          _______                                _____  ______

          80 (1994).  Appellants were  charged as coconspirators, and with

          an identical  substantive offense,  all in the  same indictment.

          Careful review  discloses  no unfairness  attributable to  their

          joint  trial.    More  particularly, Mario  makes  no  plausible

          showing  of  prejudice,  especially  in light  of  the  repeated
                                                                  ________

          instruction  by the court that  the jury must  consider the evi-

          dence against  each defendant independently and  return separate

          verdicts.   Id.   The trial  court acted  well within  its broad
                      ___

          discretion in denying the motion to sever. 

          B.  The Schultz Testimony
          B.  The Schultz Testimony
              _____________________

                    On redirect  examination Agent Schultz  was allowed to
                       ________

          testify  that, in  his  experience, innocent  observers are  not

          invited  to accompany  criminals  engaged in  completing a  drug

          deal.   Appellant  DiMarzo  argues that  (1)  Fed. R.  Crim.  P.

          16(a)(1)(E) obligated the government to provide him with pretri-

          al  discovery  relating  to  Schultz' expert  qualifications  to

          testify to  this matter,  (2) Schultz' opinion  was inadmissible

          under  both Daubert  v. Merrell  Dow Pharmaceuticals,  Inc., 509
                      _______     ___________________________________

          U.S. 579 (1993), and Fed. R. Evid. 704(b) (prohibiting testimony

          on ultimate jury issue).  Similarly, Mario Alzate  contends that

          he  was entitled to a mistrial, or  at the very least a continu-

          ance for further discovery  relating to Schultz' expert qualifi-

          cations.2  We do not agree.  
                              
          ____________________

               2We review these discovery and evidentiary rulings under  an
          "abuse of discretion" standard.  United States v. Lanoue, 71 F.3d
                                           _____________    ______
          966, 973 (1st  Cir. 1995) (discovery  rulings); United States  v.
                                                          _____________

                                          8














                    On cross-examination, both defense  counsel repeatedly

          invited  Agent Schultz  to draw  upon his  experience as  a drug

          enforcement  officer.   For example,  Schultz was  asked whether

          drug crime  participants typically carry weapons.   On redirect,

          the prosecutor asked  Schultz:  "[C]an you tell us  how often in

          your  experience drug dealers bring along  with them to a deal a

          casual innocent observer?"  Over defense objections, Schultz was

          allowed to respond that he had never "seen a person just casual-

          ly come along for a drug deal."  

                    We reject appellants' contentions that either Criminal

          Rule  16(a)(1)(E) or  Daubert was  implicated by  the challenged
                                _______

          testimony.  First, the Schultz response expressed neither  a lay

          nor an expert opinion, as distinguished from a statement of fact
          ___           _______

          as  to what Schultz  had witnessed  during his  29 years  in law

          enforcement.  As the  challenged testimony proffered no opinion,
                                                               __ _______

          lay  or expert,  but  simply the  witness's personal  experience

          relating to a subject  bearing directly upon the appropriateness

          of a jury  inference, see United States  v. Batista-Polanco, 927
                                ___ _____________     _______________

          F.2d  14,  18 (1st  Cir. 1991)  (extended  presence at  scene of

          heroin  packaging operation supports "common sense" inference of

          guilt), long held permissible  in such circumstances, see United
                                                                ___ ______

          States  v. Smith,  680  F.2d 255,  260  (1st Cir.  1982),  cert.
          ______     _____                                           _____

          denied, 459 U.S. 1110 (1983), we reject the claim.  
          ______

                              
          ____________________

          Neal, 36 F.3d  1190, 1205 (1st  Cir. 1994) (continuance);  United
          ____                                                       ______
          States v. Pierro, 32  F.3d 611, 617 (1st Cir.  1994) (mistrials),
          ______    ______
          cert.  denied, 115  S. Ct.  919 (1995);  United States  v. Cotto-
          _____  ______                            _____________     ______
          Aponte, 30 F.3d 4, 6 (1st Cir. 1994) (evidentiary rulings). 
          ______

                                          9














                    Nor did the Schultz testimony encroach upon the jury's

          factfinding function regarding the ultimate issue of guilt.  The

          district court  alertly gave an immediate  jury instruction that

          "mere presence" at  a crime scene  is insufficient to  establish

          guilt, and that ultimately it was for the jury to decide whether

          the  government had met its burden  of proof.  See United States
                                                         ___ _____________

          v. Myers, 972 F.2d 1566, 1577 n.8 (11th Cir. 1992) (Bownes, J.),
             _____

          cert.  denied, 507 U.S. 1017  (1993).  When  Agent Schultz later
          _____  ______

          was subjected to further cross-examination, see United States v.
                                                      ___ _____________

          Paiva,  892 F.2d  148,  157 (1st  Cir.  1989), he  conceded  the
          _____

          possibility  that  a driver  might not  have  known that  he was

          transporting someone  to  a  crime  scene.   Thus,  viewing  the

          challenged  Schultz  testimony  in  the context  of  the  entire

          examination, we find neither error nor unfair prejudice.  

          C.  Evidence of Prospective Sentence
          C.  Evidence of Prospective Sentence
              ________________________________

                    In an effort  to forfend  against an  argument by  the

          government that DiMarzo had known the cocaine was in the Oldsmo-

          bile     based on  the improbability that  criminal conspirators

          would entrust such valuable contraband to an innocent third par-

          ty    DiMarzo sought to inform the jury of the harsh sentence he

          would face upon conviction, to demonstrate the strong inducement

          the  "real" drug dealers had  to select an  unsuspecting dupe to

          transport  their drugs, so as to avoid detection themselves.  On

          appeal,  DiMarzo  contends that  the  rejection  of his  proffer

          denied  him  the "only  way" he  had  to counteract  the adverse

          inference  suggested by the  government.  We  think the district


                                         10














          court soundly excluded the evidence.  See Cotto-Aponte, 30  F.3d
                                                ___ ____________

          at  6 (applying  "abuse of  discretion" standard  to evidentiary

          rulings).   Accordingly,  it was  proper as  well to  reject the

          requested instruction that the jury not draw the inference urged

          by the government.  

                    The  DiMarzo proffer would have necessitated an unwar-

          ranted departure  from the fundamental division of responsibili-

          ties between judge and jury.   See Shannon v. United States, 114
                                         ___ _______    _____________

          S. Ct. 2419, 2424 (1994).  As a general rule, under our criminal

          justice  system it  is  the jury's  responsibility to  determine

          guilt  or  innocence on  the basis  of the  facts it  has found,

          whereas  the  court  is  responsible, among  other  things,  for

          sentencing  a  defendant after  a  guilty verdict.    As federal

          juries perform  no sentencing  function, "providing jurors  sen-

          tencing information  invites them to ponder matters that are not

          within  their province,  distracts them  from their  factfinding

          responsibilities,  and  creates a  strong possibility  of confu-

          sion."    Id.   Thus,  even  assuming that  DiMarzo's  guideline
                    ___

          sentencing range  had some minimal probative value     a dubious

          proposition at best    the district court did not err in reject-

          ing  the DiMarzo proffer given the  considerations alluded to in

          Shannon.  See Fed.  R. Evid. 403; cf. United States  v. Luciano-
          _______   ___                     ___ _____________     ________

          Mosquera,  63 F.3d 1142,  1153 (1st Cir.  1995) (rejecting Sixth
          ________

          Amendment  challenge  to   restriction  upon   cross-examination

          relating to potential punishment).    

          D.  Sufficiency of the Evidence
          D.  Sufficiency of the Evidence
              ___________________________


                                         11














                    Appellants  claim reversible  error in  the denial  of

          their respective motions  for judgments of acquittal.   See Fed.
                                                                  ___

          R. Crim. P. 29.  Under  Criminal Rule 29, we review the evidence

          in  the  light most  favorable  to the  government,  drawing all

          plausible  inferences and  resolving all  credibility determina-

          tions  in line with the verdicts.   United States v. Spinney, 65
                                              _____________    _______

          F.3d 231, 234  (1st Cir. 1995).  We  will uphold a verdict  if a

          rational factfinder  could have found each  essential element of

          the  offense beyond a reasonable doubt.  United States v. Gomez-
                                                   _____________    ______

          Pabon, 911 F.2d 847, 852 (1st Cir. 1990), cert. denied, 498 U.S.
          _____                                     _____ ______

          1074 (1991).  

                    The government  met  its  test.   Under  21  U.S.C.   

          841(a)(1), it was required to establish that defendants knowing-

          ly  and intentionally  possessed  a  controlled  substance  with

          intent to  distribute.   United States v.  Aguilar-Aranceta, 957
                                   _____________     ________________

          F.2d  18,  23 (1st  Cir.), cert.  denied,  506 U.S.  834 (1992).
                                     _____  ______

          Under  21 U.S.C.   846, the government was required to establish

          that defendants agreed, at least tacitly, to commit the substan-

          tive offense  which constituted  the object of  their agreement,

          and  that defendants voluntarily participated in the conspiracy.

          Flores-Rivera, 56 F.3d at 323-24.  The jury was entitled to rely
          _____________

          upon circumstantial evidence     such as  presence at the  crime

          scene  and association with others  involved in the  crime    to

          infer  essential elements  of the  crime, except that  such evi-

          dence,  standing alone, is  insufficient to  support conviction.
                  ________ _____

          Id. at 324.   Although appellants hold themselves out  as excep-
          ___


                                         12














          tions that prove the rule, there is ample record evidence, above

          and  beyond their  mere presence  and association,  to permit  a

          rational  jury to find guilt under both counts, beyond a reason-

          able doubt.

                    Appellant Mario  Alzate and his  brother Alonzo  drove

          approximately 100 miles to the crime scene where Alonzo had made

          prior arrangements for the cocaine to be delivered to undercover

          Agent Schultz in return for $100,000.  Together with the incrim-

          inating  circumstantial  evidence,  the   familial  relationship

          between  Alonzo (the  "pointman") and  Mario (the  "lookout" and

          driver) permitted a rational jury inference that Mario well knew

          he was involved  in a drug deal.  See  United States v. Morales-
                                            ___  _____________    ________

          Cartagena,  987 F.2d  849, 851-52  (1st Cir.  1993).   There was
          _________

          ample evidence to enable the  jury to find that Mario served  as

          the "lookout" at the  crime scene, see United States  v. Hernan-
                                             ___ _____________     _______

          dez, 995 F.2d 307, 314 (1st Cir.), cert. denied, 114  S. Ct. 407
          ___                                _____ ______

          (1993),  especially  since the  brothers registered  in separate

          rooms  at the  Inn and  Mario requested  a room  overlooking the

          parking  lot from where he surveilled the crime scene before the

          drugs arrived.  In addition, Mario testified in his own defense,

          either  contradicting  the  testimony  of  government  witnesses

          (e.g.,  in  contrast to  the Inn  manager,  denying that  he had

          requested  a  room  overlooking  the parking  lot)  or  offering

          innocent explanations for  other suspicious conduct (e.g.,  that

          he had strolled around the Inn parking lot just to  take in "the

          countryside"), which the  jury was entitled to reject  and treat


                                         13














          as evidence of  consciousness of  guilt.  See  United States  v.
                                                    ___  _____________

          Hadfield, 918 F.2d 987,  999 (1st Cir. 1990), cert.  denied, 500
          ________                                      _____  ______

          U.S. 936 (1991).3  

                    The   sufficiency  challenge  mounted  by  DiMarzo  is

          without  merit as well.   The evidence  demonstrated that Alonzo

          had  anticipated that the cocaine would arrive in a car equipped

          with  secret compartments, and that  he knew how  to contact the

          driver en route.  Agent Schultz testified that Alonzo spoke with

          the  driver of the vehicle  carrying the cocaine  the morning of

          the drug deal, conceivably  via the cellular phone in  the white

          Oldsmobile, and gave him  the correct directions to the Inn.   A

          short time later, DiMarzo  arrived at the Inn with  the cocaine,

          pulled up just outside the ground-floor room occupied by Alonzo,

          and immediately met  with him.   DiMarzo was  seen scanning  the

          parking lot  as the two  men walked to  the restaurant.   Alonzo

          returned with the keys to the Oldsmobile and, in the presence of

          Schultz,  opened the concealed  interior compartments containing

          bricks of cocaine in the promised amount.  

                    As we repeatedly  have recognized, a  jury is free  to

          rely on its common sense, see, e.g., Hernandez, 995 F.2d at 314,
                                    ___  ____  _________

          and may infer that criminal conspirators normally do not involve

          innocent persons at critical  stages of a drug deal,  see, e.g.,
                                                                ___  ____

          United  States v.  Tejeda, 974  F.2d 210,  213 (1st  Cir. 1992).
          ______________     ______

          Thus, the jury reasonably  could infer that DiMarzo knew  he was
                              
          ____________________

               3As there was no abuse of discretion, we likewise affirm the
          denial of Mario's motion for new trial under Fed. R. Crim. P. 33.
          United States v. Garcia, 978 F.2d 746, 748 (1st Cir. 1992).   
          _____________    ______

                                         14














          delivering the cocaine needed to consummate the prearranged deal

          with Alonzo, rather than that  Alonzo and appellant Mario Alzate

          had entrusted to  an unsuspecting  nonparticipant the  responsi-

          bility  for delivering $100,000 worth of cocaine to the scene of

          the exchange. E.  The Alzate Sentencing Claims
                        E.  The Alzate Sentencing Claims
                            ____________________________

                    Mario Alzate  claims that  he was a  "minimal partici-

          pant," see U.S.S.G.    3B1.2(a) (1995), and that he  should have
                 ___

          been granted a downward  departure based on "aberrant behavior,"

          see id.   5K2.0.  Neither contention helps him. 
          ___ ___

                    First, the  district court found that  Mario was enti-

          tled to a two-level downward  adjustment under U.S.S.G.   3B1.2-

          (b), as a "minor participant."  On appeal, Mario argues that  he

          deserved a three or four-level adjustment, based on his "minimal

          role."  The record evidence  noted above, however, warrants  the

          finding that  Mario did not  merit a "minimal  role" adjustment.

          See United States  v. Munoz, 36 F.3d 1229, 1238  (1st Cir. 1994)
          ___ _____________     _____

          (off-loading portion of single  drug shipment or smuggling drugs

          for small transaction may indicate minimal participation), cert.
                                                                     _____

          denied, 115 S. Ct. 1164 (1995).  Thus, there was no clear error.
          ______

          United States v. Neal, 36 F.3d 1190, 1211 (1st Cir. 1994).  
          _____________    ____

                    Finally, the  second assignment  of error is  squarely

          foreclosed  because the  district court  was well  aware  of its

          authority to grant a  downward departure and declined to  do so.

          We therefore lack jurisdiction  to review the refusal to  depart

          unless based on a mistake of law.  United States v. Grandmaison,
                                             _____________    ___________

          No. 95-1674, 1996 WL  80411 (1st Cir. Mar. 1,  1996) (clarifying


                                         15














          "aberrant behavior"  standard); United States v.  Lewis, 40 F.3d
                                          _____________     _____

          1325, 1345 (1st  Cir. 1994).   There is  no indication that  the

          district court misapprehended the confines of its legal authori-

          ty. 

                    Affirmed. 
                    Affirmed. 
                    ________












































                                         16









